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                                                     UNITED STATES BANKRUPTCY COURT
                                                          Western District of Michigan
 In re:      Constance Ann Platschorre                                                          Case No. 20-00978
                                                                      ,                         Chapter 13
 Debtor(s).                                                                                     Hon. John T. Gregg
                                                                      /                         Filed: 3/07/2020

                                            FIRST PRE-CONFIRMATION AMENDED CHAPTER 13 PLAN

PREAMBLE

To Debtors:             Plans that do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated.

                        You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy
                        case. If you do not have an attorney, you may wish to consult one.

                        If you oppose the Plan’s treatment of your claim or any provision of this Plan, you or your attorney must
                        file an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
                        otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this Plan without further
                        notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file
                        a timely proof of claim in order to be paid under any Plan.

                        The following matters may be of particular importance. Debtors must check one box on each line to
                        state whether or not the Plan includes each of the following items. If an item is checked as “Not
                        Included” or if both boxes are checked, the provision will be ineffective if set out later in the Plan.

 A limit on the amount of a secured claim, set out in Paragraph III.C.2.c and III.C.1.f., which                         Included           Not
 may result in a partial payment or no payment at all to the secured creditor                                                          included

 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                                Included           Not
 out in Paragraph IV.R.                                                                                                                included

 Nonstandard provisions, set out in Paragraph IV.R.                                                                     Included           Not
                                                                                                                                       included

I. PLAN PARAMETERS

            A. APPLICABLE COMMITMENT PERIOD (ACP) - 11 U.S.C. § 1325(b)(4).
                    The ACP is 60 months.
                    The ACP is 36 months. However, the duration of payments may be extended to complete the Plan.

            B. LIQUIDATION ANALYSIS.
                1. Debtor(s) assert(s) the non-exempt equity in the case is $16,309.98.
                2. The liquidation value of the estate as required by 11 U.S.C. § 1325(a)(4) is $1,649.98. This amount
                    represents the calculation by the Debtor(s) of non-exempt equity in the case, minus priority unsecured
                    claims and other allowable deductions.

II. FUNDING

            A. PLAN PAYMENT The Debtor(s) shall make payments in the amount of $ 250.00 per                week,    bi-weekly,
                   semi-monthly,       month for the minimum of the ACP, subject to changes as set forth in paragraph II.B or
               II.C, below, or until further order of the Court.
                                                                          1 - As updated on 10-10-19
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III. DISBURSEMENTS

            F. UNSECURED CREDITORS.

                  General Unsecured Creditors: Claims in this class are paid from funds available after payment to all other
                   classes. The allowed claims of general unsecured creditors will be satisfied by:

                        Payment of a dividend of 100%, plus present value of                         % interest, if necessary to satisfy 11 U.S.C.
                     § 1325(a)(4), OR

                         Payment of a pro-rata share of a fixed amount of $1,649.98 or payment from all disposable income to be
                     received by the Debtor(s) in the ACP, whichever pays more. This fixed amount shall be reduced by
                     additional administrative expenses including attorney fees approved under 11 U.S.C. § 330(a). However,
                     this fixed amount shall not be reduced below the liquidation value specified in paragraph I.B.2

                                                THIS PLAN REMAINS UNCHANGED IN ALL RESPECTS
                                                   NOT IN CONFLICT WITH THESE AMENDMENTS

 Date: April 20, 2020                                                                     /s/
                                                                                          Constance Ann Platschorre   , Debtor

 Date: April 20, 2020                                                                     /s/
                                                                                          Jeffrey D. Mapes P70509     , Counsel for the Debtor(s)




                                                                        2 - As updated on 10-10-19
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